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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-00171-MCE
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          ORDER
14   FIDEL SANCHEZ-CRUZ, and                            DATE: June 18, 2020
     AGUSTIN CRUZ-SANCHEZ,                              TIME: 10:00 a.m.
15                                                      COURT: Hon. Morrison C. England, Jr.
                                 Defendants.
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18          On May 18, 2020, the Court continued the status conference scheduled for June 4, 2020, to June

19 18, 2020, on the Court’s own motion. ECF No. 99. The minute order “encouraged [the parties] to file a

20 Notice of Exclusion of Time if amenable and applicable.” Id. By this stipulation, the parties now move
21 to continue the status conference to August 6, 2020, and to exclude time between June 4, 2020, and

22 August 6, 2020, under Local Code T4, for the reasons set forth below.

23          On May 13, 2020, this Court issued General Order 618, which suspends all jury trials in the

24 Eastern District of California “until further notice.” Further, pursuant to General Order 611, this Court’s

25 declaration of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s

26 Order of April 16, 2020 continuing this Court’s judicial emergency, this Court has allowed district
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 1 judges to continue all criminal matters to a date after May 2, 2021.1 This and previous General Orders,

 2 as well as the declarations of judicial emergency, were entered to address public health concerns related

 3 to COVID-19.

 4          Although the General Orders and declarations of emergency address the district-wide health

 5 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 6 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 7 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 8 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 9 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153
10 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit

11 findings on the record “either orally or in writing”).

12          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

13 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial

14 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

15 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

16 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

17 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

18 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

19 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

20          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

21 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

22 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

23 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

24 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

25 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

26 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to
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            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
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28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              2
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 1 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

 2 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

 3 by the statutory rules.

 4          In light of the societal context created by the foregoing, this Court should consider the following

 5 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 6 justice exception, § 3161(h)(7) (Local Code T4).2

 7                                                STIPULATION

 8          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 9 through defendant’s counsel of record, hereby stipulate as follows:
10          1.       By previous order, this matter was set for status on June 18, 2020.

11          2.       By this stipulation, defendants now move to continue the status conference to August 6,

12 2020, and to exclude time between June 4, 2020, and August 6, 2020, under Local Code T4.

13          3.       The parties agree and stipulate, and request that the Court find the following:

14                   a)      The government has represented that the discovery associated with this case

15          includes more than 13,000 pages of investigative reports, photographs, and other documents, as

16          well as video and audio recordings. All of this discovery has been either produced directly to

17          counsel and/or made available for inspection and copying. In addition, the government has

18          produced to defendant Cruz-Sanchez the contents of his seized cell phone, consisting of

19          hundreds of photographs, videos, and other files.

20                   b)      Counsel for defendants desire additional time to review the discovery and discuss

21          it with their clients, to conduct investigation, to evaluate a potential motion to suppress, and to

22          otherwise prepare for trial.

23                   c)      Counsel for defendants believe that failure to grant the above-requested

24          continuance would deny them the reasonable time necessary for effective preparation, taking into

25          account the exercise of due diligence.

26                   d)      The government does not object to the continuance.

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            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1               e)      In addition to the public health concerns cited by the General Orders and

 2        declarations of judicial emergency, and presented by the evolving COVID-19 pandemic, an

 3        ends-of-justice delay is particularly apt in this case because counsel for defendants are in high-

 4        risk categories for COVID-19, as recognized by the Centers for Disease Control.

 5               f)      Based on the above-stated findings, the ends of justice served by continuing the

 6        case as requested outweigh the interest of the public and the defendant in a trial within the

 7        original date prescribed by the Speedy Trial Act.

 8               g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9        et seq., within which trial must commence, the time period of June 4, 2020 to August 6, 2020,

10        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11        because it results from a continuance granted by the Court at defendant’s request on the basis of

12        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13        of the public and the defendant in a speedy trial.

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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: June 4, 2020                                       MCGREGOR W. SCOTT
 7                                                             United States Attorney
 8
                                                               /s/ DAVID W. SPENCER
 9                                                             DAVID W. SPENCER
                                                               Assistant United States Attorney
10

11   Dated: June 4, 2020                                       /s/ Dina Santos
                                                               Dina Santos
12                                                             Counsel for Defendant
                                                               FIDEL SANCHEZ-CRUZ
13
     Dated: June 4, 2020                                       /s/ Hayes H. Gable, III
14                                                             Hayes H. Gable, III
                                                               Counsel for Defendant
15                                                             AGUSTIN CRUZ-SANCHEZ
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17                                                     ORDER
18          IT IS SO ORDERED.
19 Dated: June 9, 2020

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      STIPULATION REGARDING EXCLUDABLE TIME                5
30    PERIODS UNDER SPEEDY TRIAL ACT
